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         7KHSDUWLHVDOVRUHTXHVWWKDWWKHGHDGOLQHIRU86%DQN1DWLRQDO$VVRFLDWLRQDQG$XUHOLXV
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(GZDUG$)ULHGPDQ                  $DURQ+0DUNV                   $UWKXU+$XIVHV,,,
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	$GHOPDQ//3                   On behalf of Defendant-           	)UDQNHO//3
On behalf of Plaintiff-              Counterclaimant                   On behalf of Counterclaim
Counterclaim Defendant U.S.          Windstream Services, LLC          Defendant-Counterclaimant
Bank National Association                                              Aurelius Capital Master Ltd.
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